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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CARTER PAGE,
c/o Global Natural Gas Ventures LLC | Civil Action No.: 19-cv-03149 (KBJ)
101 Park Ave., Suite 1300
Oklahoma City, OK 73102
(405) 825-0172,

Plaintiff,
V.
U.S. DEPARTMENT OF JUSTICE,
950 Pennsylvania Avenue NW
Washington, DC 20530-0001,

Defendant.

 

 

MOTION FOR CM/ECF USER NAME AND PASSWORD

1. Pursuant to Local Rule 5.4(b)(2), Plaintiff Carter Page, pro se, respectfully
moves for CM/ECF filing permission.

Bi In accordance with the criteria set forth in LCvR 5.4(b)(2), Dr. Page has been
permitted to file electronically in other federal courts. He has been granted such CM/ECF filing
permission for both the U.S. Court of Appeals for the Second Circuit (member of the NextGen
CM/ECF system), as well as the U.S. District Court for the Western District of Oklahoma.

Sh Dr. Page has access to the internet. He confirms his capacity to file documents
and receive filings electronically on a regular basis.

4, In addition to extensive online training, the Plaintiff has also met or exceeded the

CM/ECF training requirements set forth in another jurisdiction as demonstrated by his,successful
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completion of the following classroom education sessions with the U.S. District Court for the

Southern District of New York:

 

Date ECF Training received Location
February 15,2018 | POC & Intro Class Daniel Patrick Moynihan Courthouse
October 11,2017 | Attorney Civil Case Opening | Thurgood Marshall Courthouse

 

 

 

 

 

 

 

Dy By way of clarification, the latest version of the Local Rules as last updated on
July 15, 2019 requires that this filing be entitled “Motion for CM/ECF User Name and
Password” [LCvR 5.4(b)(2)]. More recently, the U.S. District Court for the District of Columbia
upgraded to the NextGen CM/ECF system last week. This “provides a new logon module that
allows you to use your PACER account to access PACER and any NextGen court in which you
are allowed to file.”! The Plaintiff confirms that he has had a NextGen CM/ECF User Name and
Password since August 27, 2018. Thus in accordance with this jurisdiction’s newly upgraded
system, he instead respectfully requests the Court’s permission to use his existing NextGen
CM/ECF account for filing in this jurisdiction.

Dated: October 24, 2019

 

Very respectfully, 2

F;
By: _/s/ Carter Page lyf) 2
Carter Page

c/o Global Natural Gas Ventures LLC
101 Park Ave., Suite 1300

Oklahoma City, OK 73102

Phone (405) 825-0172

Fax (405) 825-0177

 

| https://www.pacer.gov/ecfebt/cso/PACER_Job Aids/Upgrade PACER Account Jan2018 v2.pdf
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CERTIFICATE OF SERVICE

I hereby certify that on October 24, 2019, I hand delivered the foregoing document to
United States Court for the District of Columbia. I respectfully request that notice and service of

this filing to counsel of record for the parties be made by the Court through the CM/ECF system.

Dated: October 24, 201 i

By: _/s/ Carter Page pe
Carter Page

c/o Global Natural Gas Ventures LLC

101 Park Ave., Suite 1300

Oklahoma City, OK 73102

Phone (405) 825-0172
Fax (405) 825-0177

 
